Case 19-51291-tnw       Doc 83    Filed 09/19/19 Entered 09/19/19 14:35:23           Desc Main
                                  Document     Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION

 IN RE

 GIGA ENTERTAINMENT MEDIA, INC.                                          CASE NO. 19-51291

 DEBTOR                                                                  CHAPTER 7

                  ORDER DENYING MOTION TO TRANSFER VENUE

       This matter came before the Court on September 17, 2019, for an evidentiary hearing on

the Motion for a Determination that Venue is Improper and to Transfer Venue filed by Bob

Barnard, William Freeman, Patricia Gilchrist, Lyle Gillman, Arthur Mellon, Gary Nerlinger,

David Shutvet, and Riva Wilkins (collectively, the “Movants”) [ECF No. 18 (the “Venue

Motion”)].

       Debtor and Movants each filed a list of exhibits [ECF No. 50 (the “Debtor’s Exhibits”)]

[ECF Nos. 47 and 51 (the “Movants’ Exhibits”)]. Prior to the evidentiary hearing, the Court held

a pre-trial conference on September 13, 2019, during which the Court excluded Debtor’s Exhibits

3, 8, 14, and 16 as not relevant pursuant to Federal Rule of Evidence 403, and treated Debtor’s

Exhibits 10 and 13 as a part of James Massa’s declaration subject to cross-examination.

       I.    Testimony/Declarations

       The witnesses that testified during the evidentiary hearing were James Massa and Michael

DeStefano. In advance of the hearing, in accordance with the Court’s procedures [ECF No. 32

¶ 3] both witnesses tendered declarations containing their direct testimony for the hearing [ECF

Nos. 23-1 (Massa), 34 (Massa), and 30-2 (DeStefano)]. Two declarations of Gary Nerlinger [ECF
      Case 19-51291-tnw              Doc 83        Filed 09/19/19 Entered 09/19/19 14:35:23                                   Desc Main
                                                   Document     Page 2 of 2


                Nos. 18-1 and 30-4] were tendered as his direct testimony in advance of the hearing, but Debtor

                elected not to cross-examine Mr. Nerlinger. 1

                        II.    Admitted Evidence

                        During the evidentiary hearing, the Court admitted by stipulation the following Movants’

                Exhibits: 1, 9, 10, 15, 20, 21, 23, 24, 25, 31, 34, 35, 36, 37, 40, 44, 45, 46, 47, 48, 51, and 52. The

                Court also admitted by stipulation Debtor’s Exhibit 13. The Court will exclude Movants’ Exhibit

                33, which consists of four videos, as not relevant pursuant to Federal Rule of Evidence 403. No

                party moved to admit any other listed exhibit into evidence, and thus those exhibits will not be

                considered as evidence herein.

                        Debtor and Movants also filed stipulations of fact [ECF No. 54]. The Court accepts the

                facts contained therein as true.

                        III. Ruling on the Venue Motion

                        For the reasons stated on the record during the hearing on September 19, 2019, it is

                ORDERED that:

                        1.       Movants’ request that the Court find venue in this case to be improper pursuant to

                 28 U.S.C. § 1408 is DENIED.

                        2.       Movants’ request that the Court transfer this case to the Southern District of New

                 York pursuant to 28 U.S.C. § 1412 is DENIED.




                1
                         Movants also filed declarations of Carmen Weingrad [ECF No. 30-1] and Marc Goetz [ECF No. 30-3], which
                are not considered as evidence because Movants failed to offer Ms. Weingrad and Mr. Goetz as witnesses during the
                evidentiary hearing.




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                         Signed By:
                                                                         Tracey N. Wise
                                                                         Bankruptcy Judge
                                                                         Dated: Thursday, September 19, 2019
                                                                         (tnw)
